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IN THE UNlTED STATES DISTRlCT CoURT / _
FoR THE WESTERN DISTRICT or TENNESSEE 05 JUF% ~6 AM 6= 55

 

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Plaintiff,
v. Case No. 04-ev-02676-BBD-dkv

MEMPHIS LIGHT, GAS & WATER,

Defendant.

 

DEFENDANT MLGW’S MOTION TO STRIKE NEWSPAPER ARTICLE
AND PARTIAL SLIP OPINION ATTACHED TO THE COMPLAINT AND TO
STRIKE LANGUAGE REQUESTING RELIEF REGARDING NON-PARTIES,

WITH SUPPORTING MEMORANDUM

 

MOTION
Pursuant to Federal Rule of Civil Procedure lZ(f) Defendant Memphis Light, Gas &
Water Division (“MLGW”), through undersigned counsel, hereby moves for an order Striking
from the Amended Complaint the following:

l. Newspaper article attached to the Complaint.

 

2. Exeerpts from Slip opinion in State of Tennessee v. Preston Carter attached to
Complaint.
3. Language requesting relief, contained in paragraph 10 of the Complaint and

in "Prayer for Reliel"’ of Complaint regarding persons identified as “Lee O. Tate, Jr.” (or

 

_ _ . MOTION GRANI§D
"Lee O. Tate”) and "Joseph Kirkwood” or "Joe Klrkwood.” » , 003
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SUPPORTING MEMORANI)UM

F ederal Rule ofCivil Procedure l2(f) authorizes the court to ". . . order stricken from
any pleading any insufficient defense or any redundant, immaterial, impertinent or
scandalous mater."

l. Challen ged Attachments

Federal Rule of Civil Procedure 10(c) reads as follows:

(c) Adoption by Reference; Exhibits. Statements in a pleading may be

adopted by reference in a different part of the same pleading or in another

pleading or in any motion. A copy of any written instrument which is an
exhibit to a pleading is a part thereof for all purposes
Various items are attached to the Complaint. This Motion only challenges two of those
attachments The challenged attachments are the following:

l. An apparent portion of a page from a newspaper With a circle drawn

around an article headlined “Indecent Exposure to Youths Alleged;” and

2. Portions ot`a slip opinion apparently filed February 8, 2002 in the Court

of Criminal Appeals of Tennessee at Jackson in State ofTennessee v. Preston

QM.

The newspaper article attached to the Complaint is not the type of documentary
evidence or "written instruments[s]” which Federal Rule of Civil Procedure lO(c) intended
to be incorporated into, and made a part of, the Complaint. See generally Mgm & Miller,
Federal Practice and Procedure: Civil 2d § 1327, p. 763 and n. 7 (2d ed. 1990). See_, e.g.,

Perl<ins v. Silverstein, 939 F.2d 463, 467, n. 2 (7m Cir. 1991).

'l`he portions of the opinion from Tennessee v. Preston Carter attached to the

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Complaint should be stricken because the opinion, on its face, has no legal or factual relation
to the controversy in this case and is thus immaterial The opinion involves an appeal of a
murder conviction that resulted in imposition of a death sentence

2. Challenged Language Regarding Mr. fate and Mr. Kirkwood

In paragraph l0 of the Complaint the following sentence appears: “Secondly, l ask
MLGW to reinstate Mr. Lee O. Tate, Jr. and Mr. .loseph Kirkwood because they cared
strongly for MLGW’s success and its customers."

The Complaint’s prayer for relief asks, inter alia that “Defendant be directed to re-
employ Mr. Lee O. Tate and Mr. Joe Kirkwood . .

Neither of Mr. Tate or Mr. Kirkwood are named as plaintiffs in this lawsuit. T his
lawsuit is not filed as a class action and no assertion is made in the Complaint that the
requirements of a class action are met. Accordingly, no basis exists for award of any relief
to Lee O. Tate, Jr. (also referred to as Lee O. Tate) and Joseph Kirkwood (also referred to
as Joe Kirkwood). Thus, the language quoted above seeking award of relief to Mr. Tate or
Mr. Kirkwood is “immaterial” and should be stricken from the Complaint.

Respectfully submitted,

HARRIS SHELTON HANOVER WALSH, PLLC

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By: t{tfi;// ,/ let I__.>’i" ;"l
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(901)525-1455

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CERTIFICATE OF SERVICE

'l`he undersigned hereby certifies that a copy of the foregoing Entry of Appearance on
Behalf of Defendant has been served via First Class Mail, postage prepaid, on Mr. Clayton
Jackson, 3864 Mickey, Memphis_, TN 381 l6, this 10th day of February, 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02676 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Elijah Noel

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Honorable Bernice Donald
US DISTRICT COURT

